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                                                                                            September 6, 2024
  VIA ECF
  The Honorable Georgette Castner
  United States District Judge
  Clarkson S. Fisher Bldg. & Courthouse
  402 E. State Street
  Trenton, NJ 08608

  Re:      Edwin H. Stier, Esq., as Wind Down Trustee for MLS Berkowitz Investments, LLC v.
           Diego Possebon et al., Case No. 24-cv-04647-GC-RLS

  Dear Judge Castner:

         We represent Defendant Banco Safra S.A. (“Safra”) in the above-referenced action.
  Without waiver to any objections to jurisdiction or service of process 1, we write pursuant to Your
  Honor’s individual rules to join in the requests of co-Defendants Banco BTG Pactual S.A. (ECF
  Doc. No. 154), REAG USA, LLC (ECF Doc. No. 155) and Itau Unibanco S.A. (ECF Doc. No.
  173) for a pre-motion conference regarding Safra’s anticipated motion to dismiss for lack of
  personal jurisdiction and failure to state a claim.

          As set forth in the three prior pre-motion letters, Plaintiff’s 104-page Complaint names
  nearly 200 Defendants and contains 530 paragraphs. Safra is referenced by name in one single
  paragraph of the Complaint, paragraph 108, which simply alleges that Safra is a business entity
  with its principal place of business in Sao Paulo, Brazil. Aside from this paragraph, the Complaint
  groups Safra with over 160 “Recipient Defendants,” who are alleged to have received funds paid
  by MLS that they “knew, or should have known” were “the product of an unlawful scheme.”
  (Complaint ¶ 46). Yet none of the tables set forth in the Complaint itemizing the alleged unlawful
  transfers received by the so-called “Recipient Defendants” identify Safra as having received any
  such funds. The only substantive factual allegations asserted against Safra are the boilerplate,
  group pleading allegations asserted against hundreds of Defendants in paragraphs 46 and 381(d)
  of the Complaint. These allegations are wholly insufficient to assert a prima facie case of personal
  jurisdiction over Safra, a foreign bank not doing business in New Jersey, nor are they sufficient
  withstand a motion to dismiss for failure to state a claim.

  Personal Jurisdiction

         Safra is a Brazilian bank with its principal place of business in Brazil. It does not have any
  branches or offices in New Jersey nor any other state in the United States. It was purportedly served

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    Safra continues to investigate whether service pursuant to the Hague Convention has been lawfully completed. By
  filing this letter and making a special appearance in this proceeding, Safra does not waive any applicable defenses to
  service and reserves all rights to challenge its propriety in the contemplated motion to dismiss.
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  with process in Brazil under the Hague Convention. Safra, a corporate entity, is not “at home” in
  the United States and under rudimentary principles of federal law, is not subject to general
  jurisdiction here. See Daimler AG v. Brauman, 571 U.S. 117, 127 (2014); see also Malik v. Cabot
  Oil & Gas Corporation, 710 Fed. Appx. 561, 564 (3d Cir. 2017) (general jurisdiction only arises
  when a corporation’s “affiliation with the State are so continuous and systematic as to render [it]
  essentially at home in the form State” and it is “incredibly difficult” to establish general jurisdiction
  in a forum other than the place of incorporation or principal place of business). 2

          Nor is Safra subject to specific jurisdiction in New Jersey. To establish specific jurisdiction,
  precedent requires a finding that a defendant “purposefully directed [its] activities at residents of
  the forum, and the litigation results from alleged injuries that arise out of or relate to those
  activities.” See Corgliano v. Classic Motor, Inc., 611 Fed. Appx. 77 (3d Cir. 2015). Here, Plaintiff
  has not alleged any relevant conduct that Safra purposefully directed at New Jersey sufficient to
  establish “minimum contacts,” or that the claims alleged arise out of or relate to these contacts.
  Any Safra bank account alleged to have improperly received funds – and, again, no such account
  is identified in the Complaint – would have been wholly maintained and administered in Brazil.
  Nothing described in the Complaint ties Defendant Safra or its conduct to New Jersey. Nor should
  Plaintiff be permitted to take jurisdictional discovery in a hopeless effort to create such a
  connection. Jurisdictional discovery is only countenanced when a plaintiff presents factual
  allegations, “with reasonable particularity,” that suggest possible contacts between a defendant
  and the forum state. Toys “R” Us, Inc. v. Step Two, S.A., 318 F.3d 446, 456 (3d Cir. 2003). That
  plainly has not been done here.

  Failure to State a Claim

          To withstand a motion to dismiss for failure to state a claim under Rule 12(b)(6), a
  complaint must contain “sufficient factual mater, accepted as true, to ‘state a claim to relief that is
  plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.
  Twombly, 550 U.S. 544, 570 (2007)). A plaintiff must provide the underlying grounds of his
  entitlement to relief, which requires “more than labels and conclusions and a formulaic recitation
  of the elements of the cause of action.” Papasan v. Allain, 478 U.S. 265, 286 (1986); Dibattista v.
  Buckalew, Frizell & Crevina, LLP, 574 Fed. Appx. 107 (3d Cir. 2014). Here, Plaintiff has alleged
  claims for aiding and abetting fraud, fraudulent transfer, unjust enrichment and conversion against
  Safra (and scores of other Defendants), but has only done so with conclusory labels and a formulaic
  recitation of some elements of each of the causes of action, nothing more.

         Because the claims alleged against Safra sound in fraud, the allegations must not only be
  plausible, they must also be stated “with particularity.” Fed. R. Civ. P. 9(b). Rule 9(b)’s demand
  for specificity requires plaintiffs to plead the particular the circumstances of the alleged fraud –

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    In prior submissions, Plaintiff suggests that “relating to” subject-matter jurisdiction broadens the traditional
  jurisdictional test. Even assuming “related to” jurisdiction and a broader “nationwide contacts” test applies, Plaintiff
  does not (and cannot) allege that the US is the domicile, place of incorporation or principal place of business for Safra,
  nor any facts establishing contacts with the US sufficiently continuous and systematic to confer personal jurisdiction.
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  “the who, what, when where and how of the events at issue” – and the precise misconduct with
  which they are charged. In re Rockefeller Ctr. Props, Inc. Sec. Litig., 311 F.3d 198, 217 (3d Cir.
  2002); In re Novergence, Inc., 405 B.R. 709 (Bankr. D. N.J. 2009). There are no particular
  circumstances or precise allegations of misconduct concerning Safra in the Complaint.

          Among other deficiencies, the Complaint fails to allege the required elements of aiding and
  abetting fraud – (1) actual knowledge of fraud and (2) substantial assistance. With scant details,
  the Complaint does not allege facts regarding any knowledge or assistance on the part of Safra.
  Conclusory group allegations that the 160 Recipient Defendants “had knowledge of the fraudulent
  scheme” (Complaint ¶ 441) or that the scheme “could not have been perpetrated” without their
  “substantial assistance” (Complaint ¶ 442) are wholly insufficient to meet Rule 9(b). 3

          The other causes of action are similarly inadequately pled. Count Six for fraudulent
  transfer, for example, contains a table of names of alleged recipients of funds that does not include
  Safra (Complaint ¶ 435), and the Complaint is devoid of any factual allegations that any transfers
  to or from Safra constituted “voidable transfers” under the Bankruptcy Code. 11 U.S.C. § 550(a).
  There is no allegation that Safra has been unjustly enriched, converted funds or that the retention
  of a benefit to Safra without payment would be inequitable. VRG Corp. v. GKN Realty Corp., 135
  N.J. 539 (N.J. 1994). Indeed, the Complaint contains no allegations explaining why Safra is even
  considered a “Recipient Defendant” at all.

          It merits emphasizing that the Complaint not only fails to state a claim under the Rule 9(b)
  standard, its impermissible group pleading approach fails to meet even the basic requirements of
  Rule 8. Mere “conclusory allegations against defendants as a group” that “fail to allege the personal
  involvement of any defendant” are insufficient to survive a motion to dismiss. Shaikh v.
  Germadnig, Civ. No. 22-2053, 2023 WL 4534127, at *14 (D.N.J. July 13, 2023). A plaintiff must
  allege facts that “establish each individual defendant’s liability for the misconduct alleged,” and
  cannot refer to all defendants who occupy different positions and roles without specifying which
  defendants engaged in what wrongful conduct. Id.

          The Complaint here fails to allege any facts that differentiates the actions or inactions of
  the individual Recipient Defendants in way that puts each Defendant on notice as to the basis of
  each claim. This type of “vague group pleading,” standing alone, warrants dismissal. Falat v. Cnty.
  of Hunterdon, No. 12-6804, 2013 WL 1163751, at *3 (D.N.J Mar. 19, 2013).

         Safra respectfully requests the opportunity to discuss these issues at a pre-motion
  conference before the Court.


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    Plaintiff should not be permitted to amend the Complaint, as argued in prior letters, because any such amendment
  would be futile. Safra’s routine banking services, “opening accounts and approving transfers, even where there is
  suspicion of fraudulent activity does not amount to ‘substantial assistance.’” In re Agape Litig., 681 F. Supp. 2d 352,
  365 (E.D.N.Y. 2010); see also Wiand v. Wells Fargo Bank, N.A., 938 F. Supp. 2d 1238, 1244-45 (M.D. Fla. 2013)
  (red flags in banking are insufficient to establish a claim for aiding and abetting because they do not create the required
  strong inference of actual knowledge).
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                                                    Respectfully submitted,

                                                    /s/ James L. Brochin

                                                    James L. Brochin
                                                    Counsel for Banco Safra S.A.


  cc:   All Counsel of Record (via ECF)
        Michael Scavelli, Esq. (via email) (pro hac vice pending)
        David Kahne, Esq. (via email) (pro hac vice pending)
